




NO. 07-02-0068-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 21, 2002



______________________________





MANUEL DIAZ D/B/A M.D. STEEL ERECTORS, APPELLANT



V.



LHG GENERAL CONTRACTORS, INC., APPELLEE





_________________________________



FROM THE COUNTY COURT AT LAW NO. 3 OF LUBBOCK COUNTY;



NO. 2001-591,301; HONORABLE PAULA LANEHART, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

On June 19, 2002, the appellant filed Appellant’s Motion for Voluntary Dismissal averring that he no longer wished to pursue the appeal and that the appeal should be dismissed.

Without passing on the merits of the case, the Appellant’s &nbsp;Motion for Voluntary Dismissal is granted and the appeal is hereby dismissed. &nbsp;Tex. R. App. P. 42.1(a)(1). &nbsp;No order pertaining to costs is hereby made as all costs have been paid. &nbsp;Having dismissed the appeal at the appellant’s request and because the appellee is not opposed to such a request, &nbsp;no motion for rehearing will be entertained and our mandate will issue forthwith. 





Phil Johnson

 &nbsp;&nbsp;&nbsp;Justice







Do not publish. &nbsp;


